                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                                ASHEVILLE DIVISION
                          DOCKET NO. 1:16-cr-00039-MOC-DLH

 UNITED STATES OF AMERICA,                      )
                                                )
                                                )
                                                )
 Vs.                                            )                       ORDER
                                                )
 DANNY TERRON RONEY,                            )
                                                )
                  Defendant.                    )



       THIS MATTER is before the court on Defendant Roney’s pro se document captioned

“Re: US v. Danny Terron Roney … and Freedom of Information and Privacy Act Request and

Two Appeals” (#131). In this pleading, defendant again takes issue with determinations of the

United States Magistrate Judge, informs the court that his legal materials and supplies have been

stolen, and claims that he is the owner of the Dollar General Store he allegedly robbed.

       The court again notes that Judge Howell determined that defendant was not competent to

proceed to trial at this time, Sealed Order (#122) (unsealed for the limited purpose of noting the

finding of the Magistrate Judge as to competency), a conclusion in which this court has fully

concurred after its earlier review of both Judge Howell’s Order and the FTR recordings (#s 113 &

121) of the competency hearing. The contentions in the instant pleading lend further confirmation

to that conclusion. Defendant having been determined to unable to assist in his own defense, his

competency is also in question in filing the instant pleading.

       In any event, review of the docket reveals that defendant is represented by court-appointed

counsel in this matter, Ms. Coleman. Under Local Criminal Rule 47.1(h), this court does not

ordinarily entertain pro se motions from represented parties. Review of this pleadings reveals no

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               exceptional circumstances exist under Rule 47.1(h) as court-appointed counsel is able to obtain

               any documents necessary for an adequate defense or for any other legitimate purpose. Further,

               during defendant’s hospitalization, Ms. Coleman is able to supply defendant with any legal

               materials that may have been lost. The court will, therefore, deny such motion in accordance with

               Rule 47.1(h) as counsel is well able to file any appropriate motions necessary for an adequate

               defense in this matter.

                                                         ORDER

                       IT IS, THEREFORE, ORDERED that Defendant Roney’s pro se document captioned

               “Re: US v. Danny Terron Roney … and Freedom of Information and Privacy Act Request and

               Two Appeals” (#131), to the extent it seeks relief from this court, is DENIED.



Signed: February 6, 2017




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